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               EXHIBIT 26
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                     CONFIDENTIAL - ATTORNEYS EYES ONLY

1                        UNITED STATES DISTRICT COURT
2                       NORTHERN DISTRICT OF CALIFORNIA
3                            SAN FRANCISCO DIVISION
4                                       -oOo-
5    WAYMO LLC,                           )
6                                         )
7                    Plaintiff ,          )
8                                         )
9       vs.                               )   Case No: 3:17-cv-00939-WHA
                                          )
10   UBER TECHNOLOGIES, INC.,             )
     OTTOMOTTO LLC, OTTO TRUCKING,)
11   LLC,                                 )
                                          )
12                   Defendants.          )
     _____________________________)
13
14                    CONFIDENTIAL - ATTORNEYS' EYES ONLY
15                  VIDEOTAPED DEPOSITION OF DANIEL GRUVER
16                         San Francisco, California
17                         Thursday, April 20, 2017
18
19
20   Reported by:
21   LISA R. TOW
22   CSR No. 6629
23   Job No. 2599857
24
25   PAGES 1 - 73

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1          Q.    Are you aware whether GBR2 used a               10:21:08AM

2    similar design?                                             10:21:13AM

3          A.    I don't recall.                                 10:21:14AM

4          Q.    Are you aware of any other lidar                10:21:15AM

5    devices that use                                            10:21:16AM

6          A.    I am.                                           10:21:17AM

7          Q.    What are they?                                  10:21:18AM

8          A.                                                    10:21:19AM

9          Q.                                                    10:21:22AM

10                                                               10:21:25AM

11         A.                                                    10:21:26AM

12         Q.                                                    10:21:26AM

13                                                               10:21:30AM

14         A.                                                    10:21:33AM

15                                                               10:21:36AM

16         Q.                                                    10:21:38AM

17         A.    Sorry.   Clarify.                               10:21:42AM

18         Q.                                                    10:21:44AM

19                                                               10:21:47AM

20         A.                                                    10:21:50AM

21                                                               10:21:54AM

22         Q.                                                    10:21:55AM

23                                                               10:21:59AM

24         A.                                                    10:22:01AM

25                                                               10:22:06AM

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1                                                                10:22:11AM

2          Q.    And that's one that you've                      10:22:12AM

3    observed in connection with your work at                    10:22:15AM

4    Otto or Uber?                                               10:22:19AM

5          A.    Yes.                                            10:22:22AM

6          Q.    Is the              on the Fuji -- for          10:22:22AM

7    the PCBs and Fuji that do have                              10:22:33AM

8                                                                10:22:38AM

9          A.    I don't know.                                   10:22:40AM

10         Q.    Are you aware of any patents or                 10:22:41AM

11   publications that disclose                                  10:22:47AM

12                                                               10:22:49AM

13         A.    I'm not.                                        10:22:50AM

14         Q.    The Fuji design includes                        10:22:50AM

15   transmit boards total; is that fair?                        10:22:55AM

16         A.    That is.                                        10:22:58AM

17         Q.    And each of the                                 10:22:59AM

18   in the Fuji device includes                                 10:23:02AM

19                 ; is that correct?                            10:23:05AM

20         A.    That is correct.                                10:23:07AM

21         Q.    What's the benefit of that design?              10:23:08AM

22         A.    Of which design?                                10:23:10AM

23         Q.    Of the -- of having                             10:23:13AM

24                                                               10:23:18AM

25                                                               10:23:22AM

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